July 02, 2004


Mr. William D. Noel
8200 Wednesbury Lane, Suite 420
Houston, TX 77074-2925
Mr. Thomas E. Sheffield
3027 Marina Bay Drive, Suite 207
League City, TX 77573

RE:   Case Number:  02-0214
      Court of Appeals Number:  01-99-00691-CV
      Trial Court Number:  14,624

Style:      THELMA BLAHUTA HUBENAK AND EMIL BLAHUTA
      v.
      SAN JACINTO GAS TRANSMISSION COMPANY

Dear Counsel:

      Today the Supreme Court of Texas delivered the enclosed  opinions  and
judgment in the  above  referenced  cause.   Enclosed  is  one  opinion  for
consolidated cases 02-0213, 02-0214, 02-0215, 02-0216, 02-0217, 02-0320, 02-
0321, 02-0326, and 02-0356.  (Justice  O'Neill  and  Justice  Schneider  not
sitting.)


      Encl.
                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Nancy J. Vega, Chief Deputy Clerk

|cc:|Ms. Margie        |
|   |Thompson          |
|   |Ms. Dianne Wilson |

